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CLERK. U.S. DISTRICT COURT
RN DISTRICT OF OHIO
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO
WESTERN DIVISION

 

 

 

UNITED STATES OF AMERICA, ) CASE NO INCE :
) uw Ni } ae ;
Plaintiff, ) = = Z0 U HARY
)
Vv. ) MOTION FOR TEMPORARY
) RESTRAINING ORDER AND
) PRELIMINARY INJUNCTION
)
SHAFFER PHARMACY, INC.; THOMAS ) FILED TEMPORARILY UNDER SEAL
TADSEN; and WILSON BUNTON, )
)
Defendants. )

The United States respectfully moves this Court pursuant to Federal Rule of Civil
Procedure 65 for a temporary restraining order and preliminary injunction to enjoin Defendants
Shaffer Pharmacy, Inc., Thomas Tadsen, and Wilson Bunton from distributing or dispensing
controlled substances. A memorandum of law and affidavits in support of this motion are

attached hereto and incorporated herein.
Respectfully submitted,

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CERTIFICATE OF SERVICE

A copy of the foregoing Motion for a Temporary Restraining Order and a Preliminary

Injunction and Memorandum in Support will be served on Defendant Shaffer Pharmacy, Inc. by

mail under Fed. R. Civ. P. 5(b)(2)(C), and on the Defendants Thomas Tadsen and Wilson Bunton

by personal service under Fed. R. Civ. P. 5(b)(2)(A) on January 14, 202 1.

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Patricia. Fitzgerald |

Assistant United States Attorne
